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 6    Attorneys for Defendant City of Fresno
 7                               UNITED STATES DISTRICT COURT
 8                             EASTERN DISTRICT OF CALIFORNIA
 9
10                                                 ) Case No. 1:07-CV-01210 OWW-SMS
      ROBERT B. HARRIS,                            )
11                                                 )     STIPULATION TO AMEND PRE-
                           Plaintiff,              )     TRIAL ORDER FOR FILING OF
12                                                 )     MOTIONS IN LIMINE
             v.                                    )
13                                                 )
      CITY OF FRESNO,                              )
14                                                 )
                           Defendants.             )
15                                                 )
                                                   )
16                                                 )
                                                   )
17                                                 )
                                                   )
18
             IT IS HEREBY STIPULATED AND AGREED, by and between the parties,
19
      through their respective counsel of record, as follows:
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             1.     Pursuant to the recent pre-trial order, motions in limine are to be filed on
21
      June 1, 2009.
22
             2.     Based upon the recent summary judgment ruling and scheduled
23
      Mandatory Settlement Conference for June 3, 2009, the parties respectfully request
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      that the time to file motions in limine be extended until June 5, 2009.
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                                                                   Stipulation to Amend Pre-Trial Order; Order
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 1          3.    This will not affect the current dates for opposition papers or the
 2    hearing on June 12, 2009.
 3
 4
 5    Dated: May 29, 2009                     BETTS & WRIGHT
 6
 7                                            By /s/ Joseph D. Rubin
                                                     Joseph D. Rubin
 8                                            Attorneys for Defendants CITY OF FRESNO,
 9
10
      Dated: May 29, 2009                     THE LAW OFFICES OF BOWMAN/FOOS
11
12
                                              By /s/ Sean Gavin, Esq.
13                                                   Sean Gavin
                                              Attorneys for Plaintiff ROBERT B. HARRIS
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 1
 2
                                              ORDER
 3
 4            IT IS SO ORDERED. Filing of motions in limine shall be filed by or on June 5,
      2009.
 5
 6    IT IS SO ORDERED.
 7    Dated: May 29, 2009                          /s/ Oliver W. Wanger
      emm0d6                                  UNITED STATES DISTRICT JUDGE
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                                                -3-             Stipulation to Amend Pre-Trial Order; Order
